  Case 1:20-cv-01724-RGA Document 7 Filed 03/17/21 Page 1 of 1 PageID #: 34




                    IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF DELAWARE

CHRISTINE DUFFIN, ALANA                :
DUDLEY, APRIL MACLEISH,                :
AND KAREN MORROW on behalf             :     Case No. 1:20-cv-01724-RGA
of themselves individually and all     :
others similarly situated;             :     COLLECTIVE ACTION
                                       :
      Plaintiffs,                      :     COMPLAINT FOR DAMAGES,
vs.                                    :     INJUCTIVE RELIEF AND
                                       :     RESTITUTION
TRI-GRAM EDUCATION                     :
PARTNERS LLC D.B.A.                    :
HARRIS SCHOOL OF BUSINESS,             :     JURY DEMAND
                                       :
      Defendants.                      :

      PLAINTIFFS’ REQUEST FOR ENTRY OF DEFAULT AGAINST
       DEFENDANTS, TRI-GRAM EDUCATION PARTNERS, LLC
               D.B.A HARRIS SCHOOL OF BUSINESS

TO THE CLERK:

      Kindly enter default against Defendants, Tri-Gram Education Partners LLC,

d/b/a Harris School of Business for failing to respond to Plaintiffs’ Complaint

pursuant to Federal Rule of Civil Procedure 55.

                                             THE POLIQUIN FIRM, L.L.C.

                                             /s/ Ronald G. Poliquin
                                             RONALD G. POLIQUIN, ESQUIRE
                                             Delaware Bar ID No. 4447
                                             1475 S. Governors Ave.
                                             Dover, DE 19904
                                             (302) 702-5501
                                             Attorney for Plaintiffs
Filed: March 17, 2021
